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Fil| in this information to identify your case:

 

Unitecl States Bankruptcy Court for ther

VVESTERN D|STR|CT OF KENTUCKY

 

Case number (i'i‘i<no»n) Chapter you are H|ing under:

L_.l Chapter 7

 

- Chapter 11
l:l Chapter 12

lZl Chapier13 El Checi< ifihis an
amended filing

 

 

 

Otiicia| Form 101
Vo|untary Petition for Individuals Fi|ing for Bankruptcy 12/17

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For example, ifa form asks, “Do you own a car,” the answer
would be yes ifeither debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and Debtor 2 to distinguish
between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debi‘or 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct information. if

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

|dentify Yourse|f

About Debtor1:

 

 

About Debtor 2 (Spouse Only in a Joint Case):

1. ¥our full name

 

 

 

 

 

 

 

 

 

Write the name that is on Brian Missy

your government-issued i:ir§t name First name

picture identification (for

example, your driver'S Lee |_ee

license or passpoit). Midd|e name N|idd|e name

Brlng_ yOU_F p'CtL"e Simmons Mathews-Simmons

identification to your L , S J m L d 3 H. S J m

meeting with the trustee aSt name and SUffiX( r.. r., ll, ) asi name an ll lX{ F-, r.. ||, )
2. A|| other names you have

used in the last 8 years

include your married or

maiden names.
3. Dn|y the last 4 digits of

your Social Security

number or federal xxx_xx_3329 xxx-xx-4893

individual Taxpayer
identification number
(lTlN)

 

Officia| Form 101

Voluntary Petition for individuals Fi|ing for Bankruptcy page 1

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Debtor 1

Doc 1

Brian Lee Simmons

Debtor 2 Mssy Lee Mathews-Simmons

 

4. Any business names and
Empioyer identification
Numbers (EiN) you have
used in the last 8 years

include trade names and
doing business as names

About Debtor 1:

- l have not used any business name or EiNs.

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Case number (ifi<nown)

About Debtor 2 (Spouse Only in a Joint Case);

- l have not used any business name or Ele.

 

Business name(s)

 

Business name{s)

 

E|Ns

 

E|NS

 

5. Where you live

1223 Lakemere Ave.
Bowling Green, KY 42103

if Debtor 2 lives at a different address:

 

 

Number, Street, City, State & ZiP Code

Warren

Numt)er, Street, City, State & Z|P Code

 

 

County

if your mailing address is different from the one
above, fill it iri here. Note that the court will send any
notices to you at this mailing address

County

if Debtor 2's mailing address is different from yoursl fill it
in here. Note that the court Wiii send any notices to this
mailing addressl

 

Numberl P.O. Bo><, Street, City, State & ZlP Code

 

Number, P.O. Box, Street, City, State & ZiP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Checl< ones

- Over the last 180 days before filing this petition,
i have lived in this district longer than in any
other district.

|:l i have another reason.
Expiain. (See 28 U.S.C. §1408.)

Check one:

- Over the last 180 days before filing this petition, l
have lived in this district longer than in any other
district

l:l l have another reason.
Expiain. (See 28 U.S.C. § 1408.)

 

 

 

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Vo|untary Petition for individuals Fi|ing for Bankruptcy

page 2

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Debtor1 Brian Lee Simmons
Dethi’ 2 Missy Lee MathewS-Simmons Case number (ificnc\in)
Teii the Court About ‘{our Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each. see Noiice Requi'red by 11 U.S.C. § 342(b) for individuals Fii‘ing for Bankruptcy

Bankruptcy Code you are

choosing to file under

(Form 2010)). Aiso. go to the top of page 1 and check the appropriate box.
l:l Chapter 7

l chapter 11

l:\ Chapter12

ill chapter 13

 

 

 

 

 

 

 

 

 

 

E. How you will pay the fee l l will pay the entire fee when l file my petition. Piease check with the cierk’s ofhce in your local court for more details
about how you may pay. `l'ypica|iy, if you are paying the fee yourseif, you may pay With cash, cashier’s check, or money
order. if your attorney is submitting your payment on your behaif, your attorney may pay with a credit card or check with
a pre-printed address

|:| i need to pay the fee in installments. |f you choose this option, sign and attach the Appiicai‘ion for individuals to Pay
The Fiiing Fee in installments (Oi`ficia| Forrri 103A).

[:| l request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). |f you choose this option, you must fill out
the Appiication to Have the Chapter 7 Fii'ing Fee Waii/ed (thciai Form 103B) and fite it with your petition.

9. Have you filed for - NO

bankruptcy within the '
iast 8 years? El Yes.
District When Case number
District When Case number ge
District When Case number
10. Are any bankruptcy - ND
cases pending or being
filed by a spouse who is l:l Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Re|ationship to you
District __` When Case number, if known
Debtor Re|ationship to you
District When _ 7 Case number, if known
11. Do you rent your |j NO‘ Go to line 12.
residence? . . . . .
l Yes Has your landlord obtained an eviction judgment against you?

- No. Go to line 12.

["_"| Yes. Fiil out initial StateinentAboi./t an Eviction JudgmeniAgainst You (Form 101A) and Hie it with this
bankruptcy petition.

 

Ofnciai Forrn 101

Voluntary Petition for individuals Filing for Bankruptcy page 3

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Debtor 1 Brian Lee Simmons
Dethi’ 2 Missy Lee Mafhews-Simmons CaSe number (ifknown)

 

m Report About Any Businesses ¥ou Own as a So|e Proprietor

 

12. Are you a sole proprietor
of any fu|l- or part-time l NO_ Go to Part 4.
business?

|'_`| Yes_ Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individuai, and is not a
separate legal entity such
as a corporation,
partnershipl or LLC.

 

 

|f you have more than One Number, Street, City, State & ZiP Code

sole proprietorship, use a
separate sheet and attach
it to this petition. Ciieck the appropriate box to describe your business

|'_'| Heaith Care Business (as defined in 11 U.S.C. § 101{27A))
|:| Sing|e Asset Reai Estate (as defined in 11 U.S.C. § 101(51B))
|3 Stockbroker (as defined in 11 U.S.C. § 101(53A))

]:l Commodity Broker (as defined in 11 U.S.C.§101(B))

|j None of the above

 

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines if you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations. cash-flow statementl and federal income tax return or if any of these documents do not exist, follow the procedure
you a small business in 11 U.S.C. 1116{1)(|3).
debtor?

|:| NO' | am notfiling under Chapter11.
For a definition of small
business debtor» 599 11 1:] NO_ l arn nling under Chapter 11. but l am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C.§101(51D). Code.

. Yes_ l am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code_

 

m Report if ¥ou Owri or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any - NO_
property that poses or is
alleged to pose a threat l:l Yes.
of imminent and What is the hazard?

 

identifiable hazard to
public health or safety?
Or do you own any

property that needs if immediate attention is
immediate attention? needed» Why is it need€d'?

 

For exampie, do you own

perishable goods or

livestock thaimust be fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Street, C`ity, Siate & Zip Code

 

Ofncial Form 101 Voluntary Petition for individuals Fi|ing for Bankruptcy page 4

Case 18-10614-ja|

Debtor 1
Debtor 2

Brian Lee Simmons
Missy Lee Mathews-Simmoris

mxplain ¥our Efforts to Receive a Briefing About Credit Counse|ing

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Case number (ifknuwn)

 

 

15. Teii the court whether
you have received a
briefing about credit
counseling

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices |f you cannot do
so, you are not eligible to
fi|e.

if you nle anyway. the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one.'

i received a briefing from an approved credit -
counseling agency within the 180 days before i

filed this bankruptcy petition, and i received a

certificate of completion.

Attach a copy of the certificate and the payment
pian, if any, that you developed with the agency.

i received a briefing from an approved credit |:|
counseling agency within the 180 days before i

filed this bankruptcy petition, but l do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you lVlUST tile a copy of the Certificate and
payment pian, if any.

l certify that l asked for credit counseling |___l
services from an approved agency, but was

unable to obtain those services during the 7

days after l made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
What efforts you made to obtain the briefing, why
you were unable to obtain it before you nled for
bankruptcy, and what exigent circumstances
required you to Hie this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you fled for bankruptcy.

ifthe court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fi|e.
You must nie a certincate from the approved
agency, along with a copy ofthe payment plan you
developed, if any. if you do not do so, your case
mayl be dismissed

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

i am not required to receive a briefing about i:|
credit counseling because of:

i:| incapacity.
l have a mental illness or a mentat deficiency
that makes me incapable of realizing or
making rational decisions about Hnances.

l:l Disabi|ity.
My physical disability causes me to be
unable to participate in a briefing in person,
by phonel or through the internet, even after |
reasonably tried to do so.

i:| Active duty_
l am currently on active military duty in a
military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Oniy in a Joint Case):
You must check one:

i received a briefing from an approved credit
counseling agency within the 180 days before |fiied
this bankruptcy petition, and l received a certificate of
com pietion.

Attach a copy ofthe certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before |fiied
this bankruptcy petition, but i do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
i\/|UST file a copy of the ceitincate and payment pian, if
any.

l certify that l asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after i made my
requestl and exigent circumstances merit a 30-day
temporary waiver of the requirement

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a brienng before you
filed for bankruptcy.

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you fiie. You must
fite a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. if you do
not do so, your case may be dismissed

Any extension of the 130-day deadline is granted only for
cause and is limited to a maximum of 15 days.

i am not required to receive a briefing about credit
counseling because of:

|:l incapacity.
l have a mental illness or a mental denciency that
makes me incapable of realizing or making rational
decisions about finances.

El Disabi|ity.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after l reasonably tried to
do so.

[| Active duty_
l am currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

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Voluntary Petition for individuals Fi|ing for Bankruptcy

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Case 18-10614-ja|

Debtor 1

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Brian Lee Simmons
DethrZ Missy Lee Mathews-Simmons

Case number (iii<nown)

 

Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

15a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a persona|, family, or household purpose."

l No_ co io lino ibb.

l:l Yes. Go to line 17.

16b. Are your debts primarily business debts? Busi`ness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

l:l No. Go to line 16c.

- Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under

- NO_ lam not filing under Chapter 7. Go to line 18.

 

 

Chapter T?
Do you estimate that [:| Yes. l arn filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt are paid that funds will be available to distribute to unsecured creditors'?
property is excluded and
administrative expenses |:| NO
are paid that funds will
be available for m Y€S
distribution to unsecured
creditors?
13. How many creditors do l 1_49 lZl 1,000-5,000 El 25,001-50,000
§§‘;§5*""“€ that y°“ ij 50_99 |I| 5001-10,000 El 50,001-100,000
‘ ij 100_199 lIl 10,001-25,000 |Il ivloro inanioo,ooo
L._.l 200-999
19- HOw much do you E| $0 - $50,000 ill si,coo,coi - $10 million lZl s500,000,001 - s1 billion

estimate your assets to
be worth?

E| $50,001 - 5100,000
l $100,001 - s500,000
l:l $500,001 - $1 million

|Il $10,000,001 - $50 million
E| $50,000,001- $100 million
E| sioo,oco,ooi - $500 million

|Il 51,000,000,001 - $10 billion
E| $10,000,000.001 - $50 billion
l:l lvloro ihon soo billion

 

20. How much do you
estimate your liabilities
to be?

E| $0 - $sc,i)i)i)

l:l 350,001 -sico,ooc
El $100,001 -$500,000
El 3500,001 »si million

l $1,000,001 - 510 million

l:l $10,000,004 - $50 million
El sso,ooo,ooi - szoo million
lIl $100,000,001 - $500 million

lj $500,000,001 - $1 billion

lI| $1,000,000,001 -$10 billion
ill 310,000,000,001 - qiiso billion
El ivloro than $50 biliion

 

Sign Below

 

For you

i have examined this petition, and l declare under penalty of perjury that the information provided is true and correct.

lt l have chosen to file under Chapter 7, | am aware that l may proceed, if eligib|e, under Chapter 7, 11,12, or 13 of title 11.
United States Code. l understand the relief avaiiab|e under each chapter, and i choose to proceed under Chapter 7.

|f no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill outthis
document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specined in this petition.

| understand making a false statement co ealing property, or obtaining money or property by fraud in connection with a

bankruptcy case can- esu|t io'_fines‘ Ei`p't 250-000 or imprisonment for up o 20 years, or both. 18 U. S .§§ 152 1341 1519,
and 3571. e:SF
lsi' BrianL Smmo s‘d:'©

Brian Lee Simmons MissE(yJ. ee Mathetws- Simmons
Signature of Debtor 1 Signa(y re cf Debtor 2

Executed on June 25, 2018
|V||Vl i' DD fYYYY

Executed On June 25, 2018
lle l DD lYYYY

 

 

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Voluntary Petition for individuals Fi|ing for Bankruptcy page 6

Case 18-10614-ja|

Debfor 1

Brian Lee Simmons
Debtor 2 Missy Lee Mathews-Simmons

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Case number riri<nowni

 

For your attorney, if you are
represented by one

lf you are not represented by
an attorney, you do not need
to file this page.

l, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11. United States Code, and have explained the relief available under each chapter
for which the person is eligib|e. l also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in which § 707(b)(4)(D} applies, certify that | have no knowledge after an inquiry that the information in the

schedules filed with the petition is incorrect

i'sl Robert C. Chaudoin Date

Signature of Attorney for Debtor

Robert C. Chaudoin 84351

Prlnted name

Har|in Parker

Firm name

519 E. 10th Street

P.O. Box 390

Bowling Green, KY 42102-0390

Number. Sireet, Cily, Stale & Z|P Code

270-842-5611

Contact phone Email address

84351 KY

Bar number Si Stale

 

June 25, 2018
i\/|M / DD/YYYY

chaudoin@harlinparker.com

 

 

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Voluntary Petition for individuals Fi|ing for Bankruptcy

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